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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
                      v.                             )       CAUSE NO. 1:10-CR-52 WCL
                                                     )
JAMES RUTLEDGE                                       )
                                                     )
                              Defendant.             )


                             ACCEPTANCE OF PLEA OF GUILTY,
                              ADJUDICATION OF GUILTY AND
                                 NOTICE OF SENTENCING

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

the defendant has waived objection, and subject to this Court's consideration of the Plea Agreement

pursuant to Fed. R. Crim. P. 11, the plea of guilty of the offense charged in Count 3 of the Indictment,

is hereby accepted, and the defendant is adjudged guilty of such offense. The defendant and his counsel

shall appear before the undersigned for sentencing on the 3rd day of January , 2011, at 10:30 a.m.

Any sentencing memoranda or motions related to sentencing shall be filed no later than ONE

WEEK prior to sentencing. The attention of the parties is directed to the timetable outlined in the

Presentence Scheduling Notice attached hereto. If counsel are unable to comply with this timetable,

they shall obtain an extension of the filing deadline from the court.

        If objections to the to the pre-sentence report are not timely filed, thereby affording the court

an adequate opportunity to review said objections, the sentencing hearing MUST BE CONTINUED.

Accordingly, if defense counsel wishes to present an objection to the court, and said objection has not
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been timely filed, it will be the responsibility of said counsel to file a motion for continuance of the

sentencing, and provide to the court a full recitation of the reasons why the objection or objections were

not timely filed.

       IT IS SO ORDERED this 18th day of October, 2010.




                                              /s/William C. Lee
                                              William C. Lee, Judge
                                              United States District Court
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION
United States of America,

              vs.                             Criminal No. 1:10-cr-52 WCL

James Rutledge

              Defendant.

                            PRESENTENCE SCHEDULING NOTICE


 Date of Referral to Probation Officer:                          September 30, 2010
                                                                 (Date of Plea or Verdict)


 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                          November 29, 2010
                                                               (35 Days Before Sentencing)


 Counsel’s Written Objections or Acknowledgment of
 No Objections to the Pre-Sentence Report Shall be
 Delivered to the Probation Officer and Opposing
 Counsel no Later Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the
 Court and Disclosed to Counsel no Later Than:                   December 24, 2010
                                                               (10 Days Before Sentencing)


 Judgment and Sentencing Date:                                     January 3, 2011
                                                           (At Least 70 Days After Plea or Verdict)


Any sentencing memoranda or motions related to sentencing shall be filed no later than ONE
WEEK prior to sentencing
